     Case 2:15-cv-02037-PKH Document 7                Filed 04/21/15 Page 1 of 6 PageID #: 21



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS

CLARA JEAN MCHENRY and BILLY                  )
JOE MCHENRY, Husband and Wife,                )
                                              )
               Plaintiffs,                    )
                                              )
v.                                            )         Case Number: 2:15-CV-02037
                                              )
SPARKS REGIONAL MEDICAL                       )
CENTER, DAVID JEFFREY MILLER,                 )
D.O., CLINT EDWIN WOOD, M.D., and             )
GARY D. FINE, D.O.,                           )
                                              )
               Defendants.                    )

                                   AMENDED COMPLAINT

         COMES NOW the Plaintiffs, Clara Jean McHenry and Billy Joe McHenry, by and

through their attorney of record, Tim K. Baker, and in support of their Amended Complaint

against Defendants, Sparks Regional Medical Center, David Jeffrey Miller, D.O., Clint Edwin

Wood, M.D., and Gary D. Fine, D.O., state and allege the following:

         1.    Plaintiffs Clara Jean McHenry and Billy Joe McHenry are current and at all times

relevant to this lawsuit, residents and citizens of the City of Sallisaw, State of Oklahoma, and are

husband and wife.

         2.    The Defendant, Sparks Regional Medical Center, is a non-profit corporation

incorporated within the State of Arkansas, and with its principal place of business at Fort Smith,

Arkansas.

         3.    The Defendant, David Jeffery Miller, D.O., is a physician licensed to practice

medicine under the law of Arkansas, is a citizen of the State of Arkansas, and specializes in

thoracic cardiovascular surgery in Fort Smith, Arkansas.




                                                  1
  Case 2:15-cv-02037-PKH Document 7                   Filed 04/21/15 Page 2 of 6 PageID #: 22



       4.      The Defendant, Clint Edwin Wood, M.D., is a physician licensed to practice

medicine under the law of Arkansas, is a citizen of the State of Arkansas, and specializes in

diagnostic radiology in Fort Smith, Arkansas.

       5.      The Defendant, Gary D. Fine, D.O., is a physician licensed to practice medicine

under the law of Arkansas, is a citizen of the State of Arkansas, and specializes in cardiovascular

disease, internal medicine, and nuclear cardiology in Fort Smith, Arkansas.

       6.      The Plaintiffs bring their complaint under federal diversity jurisdiction, 28 U.S.C.

§ 1332(a)(1), as the parties are citizens of different states, with the Plaintiffs being from the State

of Oklahoma and the Defendants being from the State of Arkansas, and the amount in

controversy exceeds $75,000.00.

                                             COUNT I

       7.      On or about February 2013, Plaintiff Clara McHenry consulted Dr. Gary D. Fine,

D.O., for diagnosis and treatment for nonspecific EKG abnormalities, and referred Plaintiff for

surgery.

       8.      Dr. David Miller performed a triple bypass procedure on Plaintiff Clara McHenry

on or about February 26, 2013, at Sparks Regional Medical Center in Fort Smith, Arkansas.

       9.      During the procedure, Dr. Miller used a mismatched vein graft in order to bypass

one of her coronary arteries.

       10.     As a result of the mismatched vein graft, Plaintiff Clara McHenry developed

blood pressure and kidney abnormalities, requiring hospitalization.

       11.     As a result of the triple bypass procedure, Plaintiff Clara McHenry’s oxygen

saturation fell due to a large pleural effusion. Plaintiff Clara McHenry was required to be on

oxygen for four months, until such time a procedure could be performed to remove the fluid.



                                                  2
  Case 2:15-cv-02037-PKH Document 7                    Filed 04/21/15 Page 3 of 6 PageID #: 23



          12.    Plaintiff Clara McHenry subsequently developed pulmonary calcifications, and

now requires several inhalers, and has pleuritic chest pains, in addition to pressure-type chest

pains on a regular basis.

          13.    Following a subsequent chemical stress test, Plaintiff Clara McHenry was advised

by her doctor that the grafts placed by Dr. David Jeffrey Miller on February 26, 2013, had

become blocked and that she would need a subsequent heart catheterization, or possibly another

bypass procedure.

          14.    Adherence to the standard of care by the Defendants would, to a reasonable

medical probability, have had a high probability of success, and not resulted in further injury to

the Plaintiff.

          15.    The Defendants failed to exercise the reasonable and ordinary care, skill and

ability ordinarily exercised by other board-certified physicians in the same or similar

circumstances.

          16.    As a direct and proximate result of one or more of these aforesaid negligent acts

or omissions, the Plaintiff Clara McHenry sustained great and severe personal injuries. These

injuries caused the Plaintiff to experience great pain and suffering and caused the Plaintiff to

become disabled. The Plaintiff was caused to expend considerable sums of money for necessary

medical care and attention and may be liable for future medical expense for these injuries. The

Plaintiff also sustained the loss of her enjoyment of a normal life. Plaintiff's injuries are of a

permanent nature.

                                             COUNT II

          For her second cause of action, Plaintiffs Clara Jean McHenry and Billy Joe McHenry

allege:



                                                   3
  Case 2:15-cv-02037-PKH Document 7                   Filed 04/21/15 Page 4 of 6 PageID #: 24



        17.      Plaintiffs adopt and re-allege paragraphs 1-16 of the Complaint as though fully set

forth herein.

        18.      On or about February 2014, Plaintiff Clara McHenry was advised by Dr. Gary

Fine that she needed to have surgery immediately due to blockage in her carotid artery, and was

scared into have the procedure, which was performed by Dr. Clint Wood.

        19.      On or about February16, 2014, Plaintiff Clara McHenry underwent the procedure

to correct blockage in her carotid artery by Dr. Wood at Sparks Regional Medical Center in Fort

Smith, Arkansas.

        20.      While being transferred from the operating table to a bed, staff of Sparks Regional

Medical Center, acting within the scope of their employment, allowed Plaintiff Clara McHenry’s

head to drop, causing her head to hyperextend forcefully, injuring her neck and causing severe

pain.

        21.      No medical treatment was provided by her physicians or by staff at Sparks

Regional Medical Center following the incident.

        22.      Plaintiff Clara McHenry subsequently developed cervical disc disease and

radiculitis, where she had no prior disease or pain.

        23.      Adherence to the standard of care by Defendants would, to a reasonable medical

probability, have had a high probability of success, and not resulted in further injury to the

Plaintiff

        24.      The Defendants failed to exercise the reasonable and ordinary care, skill and

ability ordinarily exercised by other board-certified physicians in the same or similar

circumstances.




                                                  4
  Case 2:15-cv-02037-PKH Document 7                    Filed 04/21/15 Page 5 of 6 PageID #: 25



          25.    That the Defendant employees of Sparks Regional Medical Center failed to

exercise reasonable and ordinary care, skill and ability ordinary exercised by staff of hospitals in

the same or similar circumstances.



          26.    As a direct and proximate result of one or more of these aforesaid negligent acts

or omissions, the Plaintiff Clara McHenry sustained great and severe personal injuries. These

injuries caused the Plaintiff to experience great pain and suffering and caused the Plaintiff to

become disabled. The Plaintiff was caused to expend considerable sums of money for necessary

medical care and attention and may be liable for future medical expense for these injuries. The

Plaintiff also sustained the loss of her enjoyment of a normal life. Plaintiff's injuries are of a

permanent nature.

                                              Count III

          For her third cause of action, Plaintiffs Clara Jean McHenry and Billy Joe McHenry

allege:

          27.    Plaintiffs adopts and re-alleges paragraphs 1-12 of the Complaint as though fully

set forth herein.

          28.    At all times mentioned in this Petition, Plaintiff Billy Joe McHenry was and is the

husband of the Plaintiff Clara Jean McHenry.

          29.    As a direct and proximate cause of Defendants’ negligence, Plaintiff Billy Joe

McHenry has suffered loss of consortium and consequent emotional distress.

          WHEREFORE, Plaintiffs Clara Jean McHenry and Billy Joe McHenry demand judgment

against the Defendants, and each of them in a sum of in excess of $75,000.00, plus their costs,

and such other relief as is deemed just and proper.



                                                   5
 Case 2:15-cv-02037-PKH Document 7       Filed 04/21/15 Page 6 of 6 PageID #: 26




                                 Respectfully Submitted,




                                 /s/ Tim K. Baker
                                 Tim K. Baker, OBA #461
                                 Tim K. Baker and Associates
                                 303 W. Keetoowah
                                 Tahlequah, OK 74464
                                 (918) 456-0618
                                 (918) 456-1983


ATTORNEY LIEN CLAIMED
JURY TRIAL DEMANDED




                                     6
